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Fill in this information to identify your case:

Debtor John McDonnell McPherson

 

 

United States Bankruptcy Court forthe: DISTRICT OF MARYLAND

Gase number 2171-10205

(if known}

 

 

 

Official Form 426

 

Periodic Report Regarding Value, Operations, and Profitability of Entities in Which the Debtor’s Estate Holds a

Substantial or Controlling Interest
1217

This is the Periodic Report as of (p*be Bon the value, operations, and profitability of those entities In which a Debtor halds, or two or
more Debtors collectively hold, a substantial or controlling interest (a “Controlled Non-Debter Entity’), as required by Bankruptey Rule 2015.3.
For purposes of this form, “Debtor” shall.include the estate of such Debtor,

[Name of Debtor] holds a substantial or controlling interest in the following entities:

“Name‘of.Contralied Non-Debtor Entity ee interest of the Debtor: =:
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Tab #

 

 

 

This Parodie Report contains separate reports (Entity Reports) on the value, operations, and profitability of each Controlled Non-Debitor Entity,
Each Entity Report consists of five exhibits.

Exhibit A contains the most recently available: balance sheet, statement of income {/oss), statement of cash flows, and a statement
of changes in shareholders’ or partners’ equity (deficit) for the period covered by the Enfity Report, along with summarized footnotes.

Exhibit B describes the Controlled Non-Debtor Entity's business operations.

Exhibit C describes claims between the Controiled Non-Debtor Entity and any other Controlled Non-Debtor Entity.

Exhibit D describes how federal, state or local taxes, and any tax attributes, refunds, or other benefits, have been allocated between
or among the Controlled Non-Debtor Entity and any Debtor or any other Controlled Non-Debtor Entity and includes a copy of each
tax sharing or tax allocation agreement to which the Controlled Nan-Debtor Entity is a party with any other Controlled Non-Debtor
Entity.

Exhibit 2 describes any payment, by the Controlled Non-Debtor Entity, of any claims, administrative expenses or professional fees
that have been or could be asserted against any Debtor, or the incurrence cf any obligation to make such payments, together with
the reason for the entity’s payment thereof or incurrence of any obligation with respect thereto.

This Periodic Report must be signed by a representative of the trustee or debtor in possession.

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Debtor Name: JOHN McDonnell McPherson Case number 21-10205
The undersigned, having reviewed the Entity Reports for each Controlled Non-Debtor Entity, and belng familiar with the Debtor's
financial affairs, verifies under the penalty of perjury that to the best of hls or her knowledge, (i) this Pertodic Report and the
attached Entity Reports are complete, accurate, and truthful to the best of his or her knowledge, and (ii} the Debtor did not cause the
creation of any entity with actual deliberate intent to é¢vade the requirements of Bankruptcy Rule 2015.3

 
  

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Official Form 426 Periodic Report About Controlled Non-Debtor Entities’ Value, Operations, and Profitability page 2

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Rebtor Name: John McDonnell McPherson Case number 21-10205

HR = xhibit A: Financia! Statements for [Name of Controlled Non-Debtor Entity]

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Debler Name: John McDonnell McPherson Case number 21-10205

WE © xhibit A-1: Balance Sheet for [Name of Controlled Non-Debtor Entity] as of [date]

 

[Provide a balance sheet dated as of the end of the most recent 3-month period of the current fiscal year
and as of the end of the preceding fiscal year.

Describe the source of this information. |

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Debtor Name: John McDonnell McPherson Case number 21-10205

BE Exhivit A-2: statement of Income {Loss} for [Name of Controlted Non-Debtor Entity] for period ending [date]

 

[Provide a statement of income (loss) for the following periods:

(i) For the initial report:
a. the period between the end of the preceding fiscal year and the end of the most recent 3-month
period of the current fiscal year; and

b, the prior fiscal year.
(ii) For subsequent reports, since the closing date of the last report.

Describe the source of this information. |

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Debtor Name: John MeDonnell MsPherson Case number 21-10205

HE Exhibit A-3: Statement of Cash Flows for [Name of Controlled Non-Debtor Entity] for period ending [date]

 

[Provide a statement of changes in cash position for the following periods:

{i} For the initial report:
a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period
of the current fiscal year, and

b, the prior fiscal year,
(ii) For subsequent reports, since the closing date of the last report.

Describe the source of this information.]
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Debtor Name: John McDonnell McPherson Case number 21-10205

Exhibit A-4: Statement of Changes in Shareholders’/Partners’ Equity (Deficit} for [Name of Controlled Non-Debtor Entity]
for period ending [date]

 

[Provide a statement of changes in shareholders’/partners equity (deficit) for the following periods:
(i) For the initial report:
a. the pericd between the end of the preceding fiscal year and the end of the most recent 3-month period
of the current fiscal year; and
b. the prior fiscal year.
(ii) For subsequent reports, since the closing date of the last report,

Describe the source of this information.]

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Debtor Name: John McDonnell McPherson . Case number 21-10205

BE xhivit B: Description of Operations for [Name of Controlled Non-Debtor Entity]
oe

[Describe the nature and extent of the Debtor's interest in the Controlled Non-Debtor Entity.

Describe the business conducted and intended to be conducted by the Controlled Non-Debior Entity, focusing on
the entity’s dominant business segments.

Describe the source of this information.]

 

Mihaly, McPherson, Signorelli LLC {d/b/a MMS Advisors)

 

The following information is provided by MMS Advisors

 

 

John McDonnell McPherson is 50% owner (LLC Member} of MMS Advisors.

 

 

MMS Advisors is a consulting firm providing forensic accounting and surety support services. [1
plans to continue providing these services,

 

 

 

 

 

 

 

 

 

 

 

 

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Debtor Name: John McDonnell McPherson Case number 21-10205

la Exhibit C: Description of Intercompany Claims

 

[List and describe the Controlled Non-Debtor Entity’s claims against any other Controlled Non-Debior Entity,
together with the basis for such claims and whether each claim is contingent, unliquidated or disputed.

Describe the source of this information. ]

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Debtor Name: Johin McDonnell McPherson, Case number 21-10205

FP Exhibit D: Allocation of Tax Liabilities and Assets

 

[Describe how income, losses, tax payments, tax refunds, or other tax attributes relating te federal, state, or local
taxes have been allocated between or among the Controlled Non-Debtor Entity and one or more other Controlled
Non-Debtor Entities.

Include a copy of each tax sharing or tax allocation agreement to which the entity is a party with any other
Controlled Non-Debtor Entity.

Describe the source of this information.]

p/A

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Debtor Name: John McDonnell McPherson Case number 21-10205

Exhibit E: Description of Controlled Non-Debtor Entity’s payments of Administratlve Expenses, or Professional Fees otherwise
payable by a Debtor

[Describe any payment made, or obligations incurred (or claims purchased), by the Controlled Non-Debtor Entity
in connection with any claims, administrative expenses, or professional fees that have been or could be asserted
against any Debtor,

Describe the source of this information. |

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